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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 SECULAR STUDENT ALLIANCE, et al.,

               Plaintiffs,

 v.
                                                       Case No. 1:21-cv-00169-ABJ
 U.S. DEPARTMENT OF EDUCATION, et al.,

               Defendants.


                                  JOINT STATUS REPORT

      The Parties hereby submit the following status report in accordance with the Court’s

August 20, 2021 Minute Order:

      1. The Secular Student Alliance (“SSA”) and Mr. Declan Galli filed this suit on January

          19, 2021, challenging a provision of the U.S. Department of Education’s (“ED”)

          rulemaking entitled “Direct Grant Programs, State-Administered Formula Grant

          Programs, Non Discrimination on the Basis of Sex in Education Programs or Activities

          Receiving Federal Financial Assistance, Developing Hispanic-Serving Institutions

          Program, Strengthening Institutions Program, Strengthening Historically Black

          Colleges and Universities Program, and Strengthening Historically Black Graduate

          Institutions Program” (“the Rule”), 85 Fed. Reg. 59,916 (Sept. 23, 2020). ECF No. 1.

      2. On January 20, 2021 new leadership assumed responsibility for ED.

      3. ED previously informed undersigned counsel for Defendants that it is considering

          regulatory options related to the Rule that may moot or limit the issues in this litigation.

          See ECF Nos. 21, 22.

      4. To preserve judicial resources and maximize the efficient resolution of this case, the

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      Parties jointly requested that the Court stay this case to allow Defendants time to

      consider regulatory options related to the Rule. The Court granted the Parties’ motion

      to stay on April 21, 2021.

5. On August 19, 2021, ED published a blog post entitled “Update on the Free Inquiry

      Rule.” https://blog.ed.gov/2021/08/update-on-the-free-inquiry-rule/. Therein, ED

      stated that, “[f]ollowing completion of [its] review” of the aspects of the Rule codified

      in 34 CFR parts 75 and 76, it “anticipate[s] publishing a notice of proposed rulemaking

      in the Federal Register to propose rescinding parts of the Free Inquiry Rule.” Id.

6.    In light of ED’s stated intent to propose rescission of portions of the Rule, the Parties

      agreed that a further stay of this case was appropriate for an additional 60 days, and

      proposed that the Parties file a joint status report in 60 days to update the Court on ED’s

      regulatory activities related to the Rule and the Parties’ positions on whether the case

      should continue to be stayed.. See ECF No. 24. That same day, the Court continued the

      stay and ordered another joint status report by October 19, 2021.

7. Since that order, undersigned counsel for Defendants has conferred with undersigned

      counsel for Plaintiffs regarding ED’s regulatory activities. At this time, ED intends to

      publish an entry in the Fall 2021 Unified Agenda announcing ED’s intent to publish a

      Notice of Proposed Rulemaking that will propose rescinding provisions of the Free

      Inquiry Rule. ED is targeting a publication date of Spring 2022 for the Notice of

      Proposed Rulemaking.

8. In light of ED’s anticipated regulatory actions, the Parties agree that a further stay of

      this case is appropriate, and they request that this Court continue the stay of these

      proceedings.



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      9. The Parties will file a joint status report in 120 days to update the Court on ED’s

         regulatory activities related to the Rule and the Parties’ positions on whether the case

         should continue to be stayed.



Dated: October 19, 2021                             Respectfully submitted,


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